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February 02, 2006

United States Bankruptcy Court Muriel Vivian High Elk
District Of South Dakota, Room 203 PO Box 363

Federal Building and U.S. Post Office Eagle Butte, SD

225 South Pierre Street 57625

Attn: Irwin N. Hoyt
RE: Bankr. No. 05-30027, Chapter 11

Honorable Judge Hoyt,

My name is Muriel Vivian High Elk. I am one of the Debtors under Tax LD. 46-
0351565, SiTanka University Bankruptcy case.

Based on the letter I received on February 01, 2006 on the Motion made January 27, 2006
by the Trustee, and ordered on J anuary 31, 2006 I am making this plea to you to
reconsider this Motion to Dismiss or Convert to Chapter 7.

Presently, I deny or object to theses motions and ask for an appeal or reconsideration as I
was awarded to be paid forty-thousand dollars ($40,000) of SiTanka Huron University
funds based on unanimous decision by CRST Council action as a SiTanka Huron
University employee.

Therefore your honor, I am requesting your consideration in this matter as a Debtor on
this case Bankr. No. 05-30027, Chapter 11.

Murch Vion gh Mf
Muriel Vivian High Elk ”
605/964-6880

Attachment: Award Letter from CRST RECEIVED /FILED

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